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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



KERI EVERHART,                                    Case No. 1:18-cv-02620-GLR
                Plaintiff,

         vs.


CHASE BANK USA, N.A.

                   Defendant.




  NOTICE OF SETTLEMENT AND FOR TERM TO FILE DISMISSAL PLEADING

         Plaintiff, Keri Everhart, by and through undersigned counsel, hereby gives notice that

Plaintiff and Defendant, Chase Bank USA, N.A., have reached an agreement for the resolution

of this matter and are in the process of finalizing settlement documents. Plaintiff respectfully

requests fourteen (14) days to finalize the settlement documents and file proper pleadings to close

this matter. Plaintiff also requests, with the consent of Defendant, that pending the dismissal

pleading, all case deadlines be set aside.

Dated:           2/20/2019



                                       By:    /s/ Carlos C. Alsina
                                              Carlos C. Alsina-Batista
                                              Pro Hac Vice Admitted
                                              The Law Offices of Jeffrey Lohman, P.C.
                                              4740 Green River Road, Suite 310
                                              Corona, CA 92880
                                              Tel. (657) 363-3331
                                              Fax (657) 246-1311
                                              Email: CarlosA@jlohman.com
                                              Attorney for Plaintiff, Keri Everhart
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 20th day of February, 2019, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will automatically

give notice to all counsel of record, including counsel for Defendant.

                                             BY: /s/ Carlos C. Alsina
                                             Attorney for Plaintiff, Keri Everhart




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